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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA

VERSUS                                                     CR. NO. H-07-124

DANIEL JOSEPH MALDONADO

                   DEFENDANT’S PROFFER FOR SENTENCING

      The defendant, Daniel Maldonado, submits the attachments in anticipation of

his sentencing hearing later this month.

                                           Respectfully submitted,

                                           MARJORIE A. MEYERS
                                           Federal Public Defender
                                           Southern District of Texas
                                           Texas State Bar No. 14003750
                                           Southern District of Texas No. 3233

                                           By: /s Brent E. Newton
                                           Brent E. Newton
                                           Asst. Federal Public Defender
                                           Attorney-in-Charge
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                                           Southern District of Texas No. 16759
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                          CERTIFICATE OF SERVICE

      I certify that on this 6th day of July, 2007, a copy of the foregoing was served

by electronic notification to:

      1) Assistant United States Attorney Gary Cobe; and

      2) United States Probation Officer Velma Monita.



                                       /s Brent E. Newton
                                       BRENT E. NEWTON
